     Case 2:23-cv-02470-DLR        Document 142      Filed 04/22/24     Page 1 of 3



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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9    United States Securities and Exchange             No. CV-23-02470-PHX-DLR
      Commission,
10                                                      ORDER
                    Plaintiff,
11
      v.
12
      Jonathan Larmore, et al.,
13
                    Defendants.
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16          The Court has reviewed the parties’ stipulation (Doc. 138) regarding Plaintiff the
17   United States Securities and Exchange Commission’s (“SEC”) motion for a preliminary
18   injunction (Doc. 122) and the Government’s motion to intervene and for a stay of discovery
19   (Doc. 123), and their supplement thereto (Doc. 141). The parties stipulate to the entry of
20   the SEC’s proposed preliminary injunction order (Doc. 122-1). The parties further consent
21   to the eventual entry of the SEC’s proposed receiver order (Doc. 122-2), except for
22   paragraph 25 of that proposed order. The parties agree to narrow the preliminary injunction
23   briefing to this discrete issue, and as a result they agree that the May 8, 2024, preliminary
24   injunction hearing will require only oral argument on this discrete issue and not the
25   presentation of live evidence. The parties disagree over whether that May 8, 2024, oral
26   argument should be in-person or telephonic, and they have requested a status conference
27   to resolve this issue. Finally, the parties stipulate to the granting of the Government’s
28   motion to intervene and for a stay of discovery, subject to later litigation over whether to
     Case 2:23-cv-02470-DLR       Document 142       Filed 04/22/24       Page 2 of 3



 1   exempt subpoenas under Federal Rule of Civil Procedure 45 from the scope of the stay.
 2   The parties ask that briefing on this discovery issue occur after the May 8, 2024,
 3   preliminary injunction hearing. Based on the parties’ stipulation,
 4          IT IS ORDERED that the Court GRANTS IN PART and RESERVES
 5   JUDGMENT IN PART on the SEC’s motion for a preliminary injunction (Doc. 122) as
 6   follows:
 7                 1. The Court will separately enter the SEC’s proposed preliminary
 8                    injunction order (Doc. 122-1).
 9                 2. The Court reserves judgment on the portion of the SEC’s motion for a
10                    preliminary injunction that seeks entry of a preliminary receiver order
11                    (Doc. 122-2), pending further briefing and argument on the propriety of
12                    including paragraph 25 of that proposed order. Defendant Jonathan
13                    Larmore and Relief Defendant Marcia Larmore shall file an opposition
14                    brief on this single issue by April 25, 2024, and the SEC and the Receiver
15                    shall have until May 2, 2024, to file a reply.
16                 3. The preliminary injunction hearing currently scheduled for May 8, 2024,
17                    will consist of oral argument on the discrete issue of whether to include
18                    paragraph 25 in the ultimate preliminary receiver order.
19                 4. The parties’ request for a status conference to discuss whether the May 8,
20                    2024, preliminary injunction hearing will be in-person or telephonic is
21                    DENIED because the Court does not need further argument on this issue.
22                    Although Jonathan and Marcia Larmore request an in-person hearing, the
23                    Court does not find it necessary for the parties to travel to Phoenix from
24                    other states, given the parties agree that the hearing will consist of oral
25                    argument on the paper record and will not involve the presentation of live
26                    evidence. Under these circumstances, the Court finds that a telephonic
27                    hearing is adequate and best comports with Federal Rule of Civil
28                    Procedure 1’s directive “to secure the just, speedy, and inexpensive


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     Case 2:23-cv-02470-DLR      Document 142       Filed 04/22/24    Page 3 of 3



 1                   determination of every action and proceeding” (emphasis added).
 2                   Accordingly, the May 8, 2024, preliminary injunction oral argument will
 3                   be held telephonically. Call-in instructions will be provided to the parties
 4                   via separate e-mail.
 5         IT IS FURTHER ORDERED that the Government’s motion to intervene and for
 6   a stay of discovery (Doc. 123) is GRANTED as follows:
 7               1. The Government’s motion to intervene is GRANTED.
 8               2. Discovery in this action is STAYED until completion of the parallel
 9                   criminal action United States v. Jonathan Larmore, 24 Cr. 140 (PAE), in
10                   the Southern District of New York.
11               3. By no later than May 7, 2024, the parties shall confer and submit to the
12                   Court a proposed briefing schedule on the SEC’s request to exempt Rule
13                   45 subpoenas from the scope of the discovery stay.
14         Dated this 22nd day of April, 2024.
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                                                  Douglas L. Rayes
19                                                United States District Judge
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